     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 1 of 15



                       UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF MASSACHUSETTS

                                              CIVIL ACTION NO. 1:18-cv-10968-DJC

                                            )
KORY MCSWEENEY,                             )
         Plaintiff,                         )
                                            )
v.                                          )
                                            )
CITY OF BROCKTON,                           )
ERIK HILLIARD, in his individual and        )
official capacity; CALLIE ROYSTER,          )
in his individual and official capacity;    )
GEORGE ALMEIDA, in his individual and       )
official capacity; & FRANCISCO              )
LOPEZ, in his individual and official       )
Capacity,                                   )
                 Defendants.                )
                                            )
      ________________________________________________________________

     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO QUASH
              AND TO PRECLUDE EVIDENCE & TESTIMONY
     ________________________________________________________________

       The Defendants submit this brief in opposition to the Plaintiff’s Motion to Quash

and to Preclude Evidence & Testimony (“Motion”), filed by him on March 2, 2020 at ECF

No. 84. For ease of the Court, the Defendants will address each section of the Plaintiff’s

Motion in the same order as reflected in ECF No. 84.

1.     Audio Tape Transcripts

       The Plaintiff complains that he had certain audiotapes transcribed and that the

Defendants “have not reviewed either transcripts [sic], and this is precluding the Plaintiff

[from] submitting them to Court prior to trial.” (Motion at p. 2). This statement is not

accurate. On Friday, February 28, 2020 – prior to the Plaintiff filing his Motion – the

Defendants informed the Plaintiff via email that he should list the transcripts as “contested”
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 2 of 15



for now, so not to delay submission of the exhibits and corresponding lists to the Court.1

From the outset of the parties’ discussions regarding exhibits, the Defendants raised the

issue with the Plaintiff that the transcripts did not appear to be accurate based on their initial

review of them when compared to the corresponding audiotapes. The Defendants offered to

point out for the Plaintiff certain sections of the transcripts that did not appear to have been

transcribed accurately. On March 3, 2020, the Defendants provided this information to the

Plaintiff after counsel listened to every statement on every tape and compared it to the

transcripts. This was a tedious task to say the least. The Defendants are now awaiting a

response from the plaintiff as to the proposed changes.

        The Plaintiff’s statement that the Defendants had not reviewed the transcripts prior

to him filing his Motion was disingenuous; in fact, it was their review of the transcripts that

caused the Defendants to inform the Plaintiff that they did not assent to the transcripts

being listed as “uncontested” exhibits. Further, nothing the Defendants did prevented the

Plaintiff from submitting the exhibits and exhibits lists with the transcripts listed as

“contested” until the Defendants had a fair opportunity to provide the Plaintiff with

citations to certain omissions and errors. In fact, the Defendants suggested this, and the

Plaintiff ignored the Defendants’ position that the exhibits be submitted without further

delay. This entire section of the Plaintiff’s Motion is misleading and it does not appear to

seek any relief. Rather, the Plaintiff uses his specious presentation of facts in order to argue

at the end of his Motion that the Defendants are somehow acting in bad faith. The

Defendants respond by (1) cautioning the Plaintiff from levying such allegations against

good standing members of the bar without a good-faith basis for doing so (which he

1
 It should be noted that counsel for the Defendants’ office, in writing, offered to take the
reins with regard to the exhibits and exhibit lists but the Plaintiff insisted that he retain
control over them.

                                                2
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 3 of 15



unequivocally does not have) and (2) maintaining that the facts and law support that the

Defendants have not acted in bad faith. If the parties cannot come to an agreement on the

transcripts due to the inaccuracies described, then it is for the Court to decide whether and

in what form to admit them.

2.      Plaintiff’s Request for Disciplinary Records

        The Plaintiff is correct that he moved for leave to serve the Defendants with

additional discovery beyond the discovery limits of the Local Rules and Rules of Civil

Procedure. The Plaintiff expressly sought from the Court certain discovery items, including

the Defendants’ full disciplinary records, to which the Defendants objected. The issue was

briefed and referred to the Honorable Donald L. Cabell, who only allowed the Plaintiff to

serve limited discovery, which was answered. The Plaintiff does not appear to contend

otherwise. The Court’s Order read as follows:

        Without purporting to waive on their behalf any potential objections the
        defendants may otherwise have or raise, the court will allow the plaintiff to
        serve a third set of requests for production of documents on each of the
        defendants as provided herein. With respect to the individual officers, the
        plaintiff may serve on them the enumerated requests as set forth in his
        motion. With respect to the City of Brockton, the plaintiff may not serve
        Requests Nos. 1 and 5; the plaintiff clearly had a basis to make these requests
        in his first two sets of requests and does not provide a reason for not having
        done so. The plaintiff may serve Request No. 2 but the scope of the
        request will be limited to any disciplinary action related to the incident
        on May 18, 2015. Finally, the plaintiff may serve Request Nos. 3 and 4 as set
        forth in his motion.

[ECF No. 42, Court’s Order on Plaintiff’s Motion to Compel] (emphasis added).

The Plaintiff appears to be arguing in his Motion that, because he was not permitted access

to the Defendants’ disciplinary records by the Court, that the defense is (or should be)

somehow precluded from using the Plaintiff’s employment history at trial. This argument is

utterly nonsensical.




                                                3
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 4 of 15



       The Plaintiff brought this lawsuit against the City and individual defendants in which

he squarely put his employment history at issue by (1) alleging that it was the May 18, 2015

criminal charge that caused him to lose employment prospects and (2) purporting to have

been defamed by the Defendants, thus causing him supposed damage to his reputation.

Specifically, the Plaintiff alleged in his Complaint “his employment prospects are greatly

diminished due to both his criminal record and the memorialization of the false statements

made by the Defendants in news articles and internet blogs…” [ECF No. 1, Complaint, at ¶

51]. He also alleged that, as a result of the Defendants’ actions, he “will have difficulty

obtaining employment and his reputation has been irreparably damaged.” Id. at ¶ 57. In his

Answers to Interrogatories, when asked to provide an itemized statement of his damages,

the Plaintiff responded that he is seeking 1.7 million dollars to account for the “[l]oss of

potential jobs” and $180,000 in “[l]ost wages.” (Exhibit 1, Plaintiff’s Answers to

Interrogatories, at p. 11, Answer No. 22). He also swore that it was the actions of the

Defendants that have “made it near impossible to find employment in the criminal justice

field.” Id. at p. 4, Ans. No. 3. He continued as to his reputation, “people who once had a

positive view of me no longer do.” Id.

       The Plaintiff cannot with a straight face argue that his employment history and

performance are not germane and intrinsically intertwined with both his claims and the relief

he seeks, and has sought, in this lawsuit. As a result, the law supports and favors that the

Defendants are permitted to introduce the Plaintiff’s employment and criminal history at

trial. In Van Liew v. Eliopoulos, 92 Mass. App. Ct. 114, 118–20 (2017), a defamation action,

the Plaintiff argued that evidence of an unrelated arrest and prosecution for attempting to

poison a neighbor’s dog should have been excluded at trial. Id. at p. 118. The Plaintiff also

argued that evidence related to commission enforcement proceedings against one of his



                                             4
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 5 of 15



attorneys, and references to his anti-Vatican and population control opinions, should also

have been excluded as irrelevant or prejudicial. Id. The Massachusetts Appeals Court,

interpreting applicable defamation law, held that the evidence – including that of the arrest

and charge for the dog incident – were not substantially more prejudicial than probative in a

defamation action where the Plaintiff’s reputation was placed at issue by him. Id. at 119,

citing Mass. G. Evid. § 403 (2017), which essentially mirrors Fed.R.Evid. 403. This is

particularly true here, where the Plaintiff claims that it was one particular criminal charge and

prosecution that damaged his reputation and caused him to suffer lost wages and job

prospects.

        The Plaintiff has indisputably placed his employment and criminal history at issue by

alleging and testifying that it was this particular criminal charge – which was dismissed for

“failure to prosecute” – that caused him harm, both as it pertains to his reputation and with

regard to his ability to retain and maintain employment. It is particularly significant that, even

when a privilege might apply (which is not the case here), when a plaintiff places a particular

subject matter at issue, the law permits (and it is expected) that disclosure and admissibility is

the norm. See, e.g., Kingsley v. Delaware, Lackawanna & Western Railroad, 20 F.R.D. 156,

158 (S.D.N.Y.1957); See also Weisenberger v. W.E. Button & Co., 35 F.R.D. 556, 557

(S.D.N.Y. 1964) (no privilege regarding tax returns exists where the litigant

has placed his income at issue). This is true of even communications relating to

psychotherapist-patient and attorney-client privilege. See, e.g., Cabot vs. Lewis, 2015 WL

13648107, at *1 (D.Mass. 2015). It simply cannot be said that the Plaintiff here has not

placed his employment history and prospects, or his criminal offender history, directly at

issue by claiming that this criminal charge caused him to lose employment prospects, suffer

lost wages, and suffer harm to his reputation. Notably, based on the Complaint and



                                                5
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 6 of 15



Plaintiff’s discovery responses and testimony, the former two subsets of damages are being

sought as to all live counts, not only for supposed defamation.

       The Plaintiff’s employment history is critical to the defense of this action. It is

without question relevant under Rule 401, the probative value is not substantially

outweighed by the danger of unfair prejudice under Rule 403, and the Plaintiff has put it

directly at issue, rendering any exclusion highly detrimental to the defense of this action.

Finally, the Plaintiff’s ability to retain and maintain employment goes to the heart of the

defense of mitigation, which was pled in this case.

3.     Motions In Limine & Deadlines

       The Plaintiff regurgitates his procedural arguments from prior briefing that the

Defendants’ Motion for Judgment on the Pleadings and Daubert Motion were untimely

filed. Neither is the case. The remainder of the facts presented in this section of the

Plaintiff’s Motion prove only that the Defendants sought extensions that were either

assented to, granted, or both.

       With regard to the Defendants’ Motion for Judgment on the Pleadings, first, the

Defendants agreed to withdraw the Motion and re-file it as a Motion for Directed Verdict at

the close of the Plaintiff’s case. Thus, the issue is moot, but the Plaintiff, for some unknown

reason, finds little solace in that fact. Regardless, Federal Rule of Civil Procedure 12(c)

permits the Defendants to move for judgment on the pleadings at any time so long as trial is

not delayed. Id. The Defendants filed their very straightforward Motion nearly one month

before trial. The Defendants chose to file this Motion pre-trial so to avoid the filing of

partial and/or multiple dispositive motions, which this Court disfavors. Second, a Motion

for Judgment on the Pleadings is not a Motion in Limine; however, the Motion was still filed

in accordance with the extension date granted by the Court for the Defendants’ filings. Quite



                                              6
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 7 of 15



simply, the facts surrounding the filing of this Motion have no bearing on any legitimate

issues before the Court.

        Regarding the Defendants’ Daubert Motion, the Court granted the Plaintiff the time

he requested to oppose it. Notably, a Daubert challenge can be made at any time, including

even at trial. Nonetheless, any alleged prejudice to the Plaintiff as it pertains to this Motion

was cured by this Court granting him an additional week to file an opposition, which he did

and the Court ruled in his favor [ECF No. 88].

        Regarding the Defendants’ Motion to Exclude Evidence and Preclude Testimony

Relating to Plaintiff’s Claim for Purported Withholding of Exculpatory Evidence [ECF No.

81], this Motion was filed in direct response to the Plaintiff filing an unsolicited “timeline”

with the Court [ECF No. 79] – ironically, after the deadline for Motions in Limine had

passed – which made it apparent to the Defendants that the Plaintiff has absolutely no good

faith basis to assert that claim at trial based on the evidence presented by the Plaintiff in his

very own submission. The Plaintiff cannot file late submissions under the guise of

“timelines” or other headings and then expect the defense not to respond, particularly where

the Plaintiff presents an issue to the Court that makes it abundantly clear that he intends to

proceed with a claim absent any evidentiary basis whatsoever.

        Finally, regarding the Defendants’ filing of a supplemental witness list, there is no

rule that precludes the Defendants from doing so. The Defendants supplemented their

witness list with a witness known to the Plaintiff as the ADA who prosecuted him for the

subject charge. The District Attorney’s file was produced in this matter and this witness

should come as no surprise to the Plaintiff based on the fact that he is claiming that the

Defendants were responsible for the failure to prosecute him. Supplementing a witness list

with a relevant witness known to all parties cannot be said to have prejudiced the Plaintiff in



                                               7
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 8 of 15



any way. This supplementation was filed three weeks prior to the start of trial and before the

pre-trial conference.

        The Defendants’ Second Supplemental Witness List was filed on February 26, 2020,

just shy of two weeks before trial, and included the names of three Keepers of the Records

for Plaintiff’s Prior Employers and three impeachment witnesses. The Defendants will

address the “Keeper” additions in a subsequent section addressing the Plaintiff’s actual

Motion to Quash. Regarding the three witnesses, it should first be noted that – as

impeachment witnesses – the Defendants were not required to disclose them to the Plaintiff

during discovery. Fed.R.Civ.P. 26(a) (The text of Rule 26(a) makes clear that parties need not

disclose impeachment witnesses). However, once the Defendants learned of the existence of

these witnesses on February 24, 2020, and made the decision to call these witnesses during

trial preparation, they seasonably supplemented their witness list accordingly. The

Defendants expressly reserved their right to do so in prior filings. While these facts alone are

sufficient to permit these witnesses to testify, there is an even more compelling reason for

their testimony and the timing of the Defendants’ supplementation.

        In his deposition, at Exhibit 2, Deposition of Plaintiff, at 16:19-17:11, when asked

about why he left his employ at TGI Friday’s, the Plaintiff testified under oath that he left

for a better job opportunity. Specifically, he testified “I left for a better opportunity with

Uno’s 8 Chicago grill.” Id. at 17:6-8. Defense counsel asked him again, “[s]o it was your

decision to leave to take the job at Uno’s?” to which the Plaintiff responded, “[y]es.” Id. at

17:9-11. The witnesses and the relevant documents demonstrate that the Plaintiff’s

statements were false; however, the Defendants did not know that the Plaintiff had perjured

himself until Defendants’ counsel visited the Quincy District Court on February 24, 2020

and reviewed the police report relating to the Plaintiff’s charges of larceny. The Defendants



                                               8
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 9 of 15



learned at that time that the Plaintiff was charged and prosecuted for larceny from his

former employer, TGI Friday’s. The court file demonstrated that he was terminated as a

result. The file also contained the names of the three witnesses. Thus, the Defendants

learned that the Plaintiff had testified falsely at deposition and withheld information from

the Defendants as to the reason for him having left TGI Friday’s.

        If the Plaintiff had testified truthfully, the Defendants would have sought

information concerning this termination during the discovery period, but it was through

their own lawful pre-trial work that the Defendants uncovered that the Plaintiff’s larceny

charge was directly related to his loss of employment. The Defendants are wholly entitled to

call witnesses on this issue at trial and, just like in Van Liew v. Eliopoulos, this information is

not only relevant, but it is not substantially outweighed by the risk of unfair prejudice under

Rule 403. The Plaintiff should not and cannot be rewarded for having lied at his deposition.

This evidence is highly probative on the Plaintiff’s defamation claim and with regard to his

alleged employment related damages. Had the Plaintiff not testified falsely at deposition,

these witnesses could have been listed sooner. By way of compromise, the Defendants

believe that they will be able to elicit the testimony they need through only one of the three

witnesses, but all three were named out of an abundance of caution. Notably, during the

investigation of this incident by TGI Fridays, it was discovered that the Plaintiff conspired

with witness Raymond Sanchez to steal from their employer and to cover up the theft.

        As a result of the Plaintiff’s false statements at deposition, the Defendants were

deprived of information to which they were entitled during discovery. Moreover, it should

be noted that the Plaintiff is in no way prejudiced by this supplementation, because Mr.

McSweeney certainly knew about his issues at TGI Friday’s during the entire pendency of

this case and concealed it when asked directly. The Defendants make no assumptions about



                                                9
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 10 of 15



when Plaintiff’s counsel learned that his client had lied at deposition, but it certainly seems

that he knows now. The Defendants suggest that Plaintiff’s counsel should have complied

with Massachusetts Rule of Professional Conduct 3.3(a)(3) requiring that “reasonable

remedial measures” be taken upon learning that his client testified untruthfully. However,

rather than comply with his ethical obligations, counsel has filed a Motion asking to have

this evidence excluded knowing that his client testified falsely about it. Additionally, during

discovery, the Defendants asked the Plaintiff to produce “any and all documents that might

disprove or undermine [his] claims.” (Exhibit 3, Plaintiff’s Responses to Defendant’s

Requests for Production, at Request No. 11). The Plaintiff – through his attorney –

responded that “[n]one exist.” Id. It is the Plaintiff’s deceptive testimony that resulted in the

Defendants delay in listing the additional witnesses added on February 26, 2020, and the

Plaintiff should not be rewarded for his unlawful behavior.

        After learning this information, the Defendants issued the trial subpoenas for

Plaintiff’s employment records as discussed in the next section. The Defendants should not

have had to disclose their trial strategy or impeachment evidence to the Plaintiff but, due to

him continuing to mischaracterize the facts and misunderstand the reasons for the

Defendants’ conduct when presenting information to this Court, undersigned counsel offers

these competent, supported facts to strongly urge the Court to deny the Plaintiff’s Motion

outright and permit them the trial subpoenas issued. As to the witnesses, there is absolutely

no sound basis to preclude them from testifying at trial if the Defendant chooses to call

them.

        Finally, the Plaintiff continued producing documents (five separate post-discovery

productions were made) to the Defendants through February 2020, seven months after the

close of discovery and one month prior to the start of trial. The Plaintiff also filed



                                               10
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 11 of 15



documents attached to his “timeline” that were not produced to the Defendants, and which

contained the name of a potential witness, which resulted in one of the subpoenas sent. For

him to complain about tardiness in this instance is entirely disingenuous.

4.     The Document Subpoenas

       The Plaintiff complains that the Defendants are conducting discovery after the

discovery deadline. With regard to their investigation work in calling the phone number of a

person who placed a call to the plaintiff during the police pursuit, the Defendants are

entitled to speak with any witnesses whom they wish to prior to trial and there is no rule or

law that prohibits that practice (it is quite common), nor are they prohibited from reviewing

relevant court documents. The only remotely potential issue raised in this section of the

Plaintiff’s Motion is that the Rule 45 subpoenas were issued “to continue with discovery,”

without leave of court. (Motion at p. 6). The Plaintiff contends that, because the Defendants

knew of the identity of the Plaintiff’s employers before discovery closed, they should have

subpoenaed the records earlier. (Motion at p. 7). However, as described above, the

Defendants did not have a reason to believe that the Plaintiff had falsely testified about his

employment history until their recent visit to the Quincy District Court. Only after learning

that they had been lied to did the Defendants issue trial subpoenas for the Plaintiff’s

employment records.2 The records from TGI Fridays and the Plaintiff’s subsequent records

from Uno’s are highly probative in light of the Plaintiff’s deception at deposition, and these

records go to the very heart of his claims for defamation, employment related damages, and

the Defendants’ claim of failure to mitigate. In an effort to compromise, the Defendants will

2
  To date, the Defendants have received a notice that one subpoena was served on the
wrong location, an objection from one employer absent a court order, and the production of
documents from Burger King that the Defendants do not seek to admit or use in any way at
trial. The recipients have been notified to hold any further production in abeyance until
further notice from the Court.

                                              11
    Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 12 of 15



agree to withdraw the other subpoenas to Plaintiff’s employers; however, they seek an Order

from this Court permitting the trial subpoenas to TGI Friday’s and Uno’s and ordering

those files produced.

       The need for the TGI Friday’s records is obvious; however, the Uno’s records also

contain information relating to the truthfulness of the Plaintiff’s testimony, including his

employment application, as well as documents relating to an incident that occurred while the

Plaintiff was employed at Uno’s, resulting in his termination from that employer. The

Plaintiff testified at deposition that he was terminated from Uno’s after an investigation was

conducted into his use of the slur “Nigger” towards/about a guest. (Exhibit 3 at 14:10-18).

Now that the Defendants are aware that the Plaintiff was dishonest about his departure from

TGI Friday’s and arrival at Uno’s, they should be entitled to records from both employers.

The substance of the records should, again, come at no surprise to the Plaintiff.

       Procedurally, the Plaintiff argues that the subpoenas are deficient. He cites to a

District of Maine case to support that the subpoenas served required leave of court. (Motion

at p. 7). The Defendants disagree. The subpoenas at issue in the case cited by the Plaintiff

involve subpoenas served as pre-trial subpoenas and not “trial subpoenas.” The difference

might be a subtle one, but they are distinct based on the language of the rule. See Rockwood

Select Asset Fund XI vs. Devine, Millimet & Branch, PA, No. 14-CV-303-JL, 2016 WL

2637818, at *10 (D.N.H. May 6, 2016) (“To the extent that the subpoenas in question were

trial subpoenas, see Fed. R. Civ. P. 45(a)(1)), they were not governed by the discovery

deadline.”). The comments to Rule 45 also appear to suggest that leave of court is not

required. The Advisory Committee Notes state that “[t]he requirement in the last sentence

of original Rule 45(d)(1) – to the effect that leave of court should be obtained for the

issuance of such a subpoena – has been omitted.”).



                                              12
    Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 13 of 15



       The Plaintiff also complains that he was not provided with notice of the subpoenas

as required by Fed.R.Civ.P. 45(a)(4). The Advisory Committee notes state as follows: “the

words ‘before trial’ were restored to the notice provision that was moved to new Rule

45(a)(4).” Thus, “trial subpoenas” do not appear to be subject to the notice requirement that

pre-trial subpoenas are. The Defendants’ counsel have always interpreted and understood

the Rule to require notice to the opposing party for subpoenas issued pursuant to Rule 45

during discovery, but not as it related to “trial subpoenas.” Regardless, the Defendants did

notify the Plaintiff of the recipients of their subpoenas when this information was requested

by him on February 27, 2020, the day after the majority of the subpoenas were prepared.

The Plaintiff said nothing in response, and did not confer with Defendants about any

concerns he supposedly had about the service of said subpoenas. Instead, the Plaintiff waited

five days and then filed a Motion to Quash.

       Upon reflection and further analysis of Rule 45, the Defendants realize that the

service of trial subpoenas requesting appearance at trial with certain documents, but

including an option to produce the documents in lieu of appearing, while arguably standard

practice, might blur the line between a “pre-trial” and “trial” subpoena for purposes of Rule

45. It was not the Defendants’ intention to do so. Thus, to the extent this Court finds that

further notice is required than what was already provided to the Plaintiff, the Defendants are

more than willing to cure this deficiency by providing copies of the subpoenas to the

Plaintiff. The Defendants, as stated previously, will also agree to withdraw all of the trial

subpoenas, but for the two served on TGI Friday’s and Uno’s and, to the extent the Court

finds that leave of Court is somehow required, the Defendants seek leave to keep those two

subpoenas intact and request an Order to the recipients that the documents be produced

forthwith.



                                              13
     Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 14 of 15



5.      Evidence Regarding Raymond Sanchez’s Employment History

        First, the Defendants have not issued any subpoenas seeking Mr. Sanchez’s

employment records. The Plaintiff argues that Mr. Sanchez’s employment history is

inadmissible under Rule 403. The Defendants disagree. There is no reason to exclude Mr.

Sanchez’s employment history to the extent it can shed light on his motivation to testify in

favor of the Plaintiff in this case. Separately, Rule 608(b) permits, on cross-examination,

instances of misconduct to be inquired into if they are probative of the character for

truthfulness or untruthfulness of the witness. Id.

6.      Bad faith allegations

        These allegations are without merit and the Plaintiff had no good faith basis for filing

a Motion containing them. The fact that the Defendants take issue with transcriptions that

the Plaintiff paid for – that do not appear to be accurate – is not bad faith. Neither is the

Defendant contacting witnesses before trial (notably, the Defendants called a single number

from the Plaintiff’s phone record – a number that called the Plaintiff during the chase).

Finally, the Defendants filing a Motion for Judgment on the Pleadings as permitted by Rule,

responding to “timelines” and “pre-trial memoranda” submitted by the Plaintiff after the

deadline for Motions in Limine had passed, and acting in accordance with a reasonable

interpretation of the Rules of Civil Procedure and Evidence, does not constitute bad faith.

What is bad faith, however, is (1) the likely perjurious testimony of the Plaintiff and, (2) if

counsel for the Plaintiff learned – prior to filing his Motion – that his client had testified

falsely on a material matter at his deposition, he should have taken actions to remedy that lie.

                                 CONCLUSION & RELIEF

        For these reasons, the Plaintiff’s Motion to Quash should be denied. The

Defendants agree to withdraw all trial subpoenas seeking documents, but for the two to TGI



                                              14
    Case 1:18-cv-10968-DJC Document 89 Filed 03/05/20 Page 15 of 15



Friday’s and Uno’s, and agrees to provide copies of those subpoenas, and any responses

thereto, to the Plaintiff. The Defendants ask that this Court issue an Order that TGI Friday’s

and Uno’s produce the requested records to the Defendants or to this Court in accordance

with the subpoenas.

                                               Respectfully submitted,
                                               The Defendants,
                                               By their attorneys,


                                               /s/Leonard H. Kesten
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                              CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system and will
therefore be sent electronically to the registered participants as identified on the Notice of
Electric Filing (NEF) and paper copies will be sent this day to those participants indicated as
non-registered participants.

                                               /s/Leonard H. Kesten
                                               Leonard H. Kesten, BBO# 542042


Dated: March 5, 2020




                                              15
